21-22696-shl   Doc 1   Filed 12/21/21     Entered 12/21/21 17:41:40   Main Document
                                        Pg 1 of 5
21-22696-shl   Doc 1   Filed 12/21/21     Entered 12/21/21 17:41:40   Main Document
                                        Pg 2 of 5
21-22696-shl   Doc 1   Filed 12/21/21     Entered 12/21/21 17:41:40   Main Document
                                        Pg 3 of 5
21-22696-shl   Doc 1   Filed 12/21/21     Entered 12/21/21 17:41:40   Main Document
                                        Pg 4 of 5
21-22696-shl   Doc 1   Filed 12/21/21     Entered 12/21/21 17:41:40   Main Document
                                        Pg 5 of 5
